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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                            Complainant,                     Criminal Case No.
            v.
                                                             1:21-cr-00175-TJK-3
ZACHARY REHL

                            Accused

                                                             Assigned to the Honorable
(Styled as USA v. NORDEAN incorporating cases                Timothy J. Kelly
against four Defendants collectively)




                             NOTICE OF ATTORNEY STATUS


       Sunshine is the best disinfectant whereas skullduggery prefers the gloom of darkness.

       Comes now the attorney for ZACHARY REHL, Jonathon Moseley, and hereby provides

this notice of his status and the continuing campaign of the U.S. Attorney’s Office for the

District of Columbia to cheat and convict hundreds of people who are innocent of the charges

brought against them.

       The Eastern District of Virginia has STAYED its unprecedented order on appeal, on the

posting of a $15,000 supersedeas bond.

       Notice that the EDVA includes in its supersedeas stay order the explanation

       “1 The Amended Judgment was entered as part of the Court’s Contempt Order

against him. See [Doc. No. 88].”

       Thus the stay on appeal clearly stays all aspects of all of the matters in the EDVA.

However, counsel is also filing an emergency motion to stay with the Fourth Circuit and a
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request for clarification with the EDVA to make this even more unmistakably clear.

       Thus, before the time limit for counsel to provide any notice or for any response, the

matter will be unmistakably stayed on appeal with the acceptance of a bond. Accordingly, there

will be nothing to report and nothing to act upon. 1

       Again, the matter has already been stayed with the acceptance of a supersedeas bond but

Moseley will be asking for the $15,000 bond to be reduced and for the language to be made

stronger and clearer.

       Note that in every case, Moseley fully and completely responded to every hearing but did

so in writing, waiving oral argument, because the requirements of the Chief Judge of the Eastern

District of Virginia’s General Order 2021-13 prohibited Moseley from physically entering the

courthouse because he was not fully vaccinated and could not have obtained full vaccination

status within the time period until the hearings scheduled.

       Indeed, although falsely stating that Moseley “failed to appear,” Judge Trenga than

quotes extensively in his Contempt Order from the written response that Moseley filed.

       Moseley provided notice that he was required to forego physical attendance under pain of

General Order 2021-13, responded fully in writing, and suggested that he could appear by remote

connection if the EDVA desired, but otherwise he would stand on his written submissions and

waive oral argument.

       Whereas Federal Rules of Civil Procedure Rule 62 automatically provides for a 30 day

stay on execution of a judgment, Judge Trenga’s judgment tracking the same 30 days earlier than

which the judgment is automatically stayed, was then hoodwinked into abuse the contempt

power to collect on a civil debt owed to a private party.


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       Here, Moseley has focused his time on obtaining a stay before responding to the
prosecution’s attacks.


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       Setting a due date on a civil debt tracking FRCP Rule 62 of a 30 day delay before

execution on a judgment may begin cannot be mangled and construed as a date by which

contempt would issue. Without a due date, a debt could never be collected. The addition of a

date does not transform a simple civil debt to a private party into a matter for contempt.

       Therefore, issuing a judgment with a date when it becomes payable, which tracks Rule

62, does not create grounds for a contempt proceeding.

       Indeed, Judge Trenga in the EDVA actually reduced the debt to a judgment, thus further

proving that the debt is merely an ordinary judgment subject to collection by the standard debt

collection methods provided by the Congress and the General Assembly of Virtinia.

       But in violation and disregard of the Federal courts’ Rules of Attorney Disciplinary

Enforcement The Honorable Anthony Trenga of the U.S. District Court for the Eastern District

of Virginia unlawfully and spontaneously popped off an order suspending Jonathon Moseley

from practice before the U.S. District Court for the Eastern District of Virginia because a civil

debt owed to private parties was not paid as quickly as the abusive attorney had wished.

       Any use of contempt power to collect a civil debt payable to private parties has been

repealed and replaced by legislation creating a carefully-balanced regime. The abuse of the

contempt power would destroy the policy issues which the legislatures, state and federal, sought

to protect and advance.

       Thus, if the courts ever had such power, they do not now, after legislation occupying the

field of the methods for collection of a civil debt to a private party.

               The exercise of the inherent power of lower federal courts can be
               limited by statute and rule, for "[t]hese courts were created by act
               of Congress."

Ex Parte Robinson, 86 U.S. 505, 511, 19 Wall. 505, 1873 U.S. LEXIS 1455 (1874)




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       The Rules of Attorney Disciplinary Enforcement do not permit Judge Trenga to try to

coerce payment of a civil debt to private parties by suspending an attorney’s right to practice in

the EDVA.

       The Federal courts’ Rules of Attorney Disciplinary Enforcement do not authorize

Judge Trenga to impose any discipline, including especially suspending an attorney’s right to

practice law, without a hearing, notice, an opportunity to respond, etc.

       Thus, Judge Trenga’s purported order for the collection of a civil debt claimed by private

parties is null and void, and must be completely disregarded in the U.S. District Court for the

District of Columbia.

       Furthermore, “Even when a court properly concludes that sanctions are warranted,

it abuses its discretion when it imposes sanctions disproportionate to the severity of a

party's misconduct. United States v. Rhynes, 218 F.3d 310, 321-22 (4th Cir. 2000) (en

banc); see Chambers, 501 U.S. at 44-45, 111 S.Ct. 2123.” In Re: Jemsek Clinic, P.A., 850 F.3d

150 (2017) (“For the foregoing reasons, we vacate the judgment of the district court and remand

the case for further proceedings consistent with this opinion.”)

       For nearly two centuries, the United States federally and in the states have outlawed the

use of contempt and other abusive practices for the collection of civil debts owed to private

parties. It has clearly been the law, especially in the forum Commonwealth of Virginia, that the

power of contempt may not be used to turn a District Court into the lackey of abusive attorneys

too lazy to use the debt collection methods provided by the General Assembly of Virginia. If

that power ever existed – and no precedent has been found to support it in such a context – any

such common law power has been abrogated by legislation occupying the field.

       Attorney Robert Vaughn cites to Rule 70 of the FRCP which plainly has nothing to do




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with whether not timely paying a civil debt to a private party is subject to contempt proceedings.

       He cites to Chambers v. NASCO, Inc., 501 U.S. 32 (1991) which also has nothing to do

with holding a person in contempt for not paying as quickly as desired a civil debt to a private

party, and the precedent is distinctly unhelpful to the creditor.

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we vacate the judgment of the district court and remand the case for further proceedings

consistent with this opinion.”) which plainly has nothing to do with whether a civil debt owed

to private parties may be the subject of contempt of court

       He cites to Life Techs. Corp. v. Govindaraj, 931 F.3d 259, 267 (4th Cir. 2019) which has

nothing to do with whether a civil debt owed to a private party can be the subject of contempt.

Furthermore, that precedent mostly rejected the use of contempt in general:

               A court’s contempt power, which reflects the court’s broad authority,
               cannot be exercised when there is “fair ground of doubt as to the
               wrongfulness of” the conduct in question. Taggart v. Lorenzen, 139 S.
               Ct. 1795, 1801 (2019) (citation and emphasis omitted);

Life Techs. Corp. v. Govindaraj, 931 F.3d 259, 267 (4th Cir. 2019)

       As the Court knows well, a District Court cannot get involved in how a private party

collects a civil debt created by a judgment. That is up to the judgment creditor to collect on a

judgment. Moreover, the Congress, Virginia General Assembly and Federal Rules of Civil

Procedure have abrogated the common law, occupied the field, and required that the collection of

debts be limited to the statutory regime.



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               "Any supposed administrative inconvenience would be minimal, since
               . . . [the unpaid portion of the judgment] could be reached through the
               ordinary process of garnishment in the event of default."

Rinaldi v. Yeager, 384 U. S. 305, 384 U. S. 310 (1966).
       Although involving consumer debts, Congress has declared its strong policy against

abusive practices in debt collection of civil debts owed to private parties:

               FAIR DEBT COLLECTIONS PRACTICES ACT
               15 U.S. Code § 1692 - Congressional findings and declaration of
               purpose

            (a) ABUSIVE PRACTICES
               There is abundant evidence of the use of abusive, deceptive, and
               unfair debt collection practices by many debt collectors.
               Abusive debt collection practices contribute to the number of personal
               bankruptcies, to marital instability, to the loss of jobs, and to
               invasions of individual privacy.

               (b)    INADEQUACY OF LAWS
               Existing laws and procedures for redressing these injuries are
               inadequate to protect consumers.

               (c)     AVAILABLE NON-ABUSIVE COLLECTION METHODS

               Means other than misrepresentation or other abusive debt collection
               practices are available for the effective collection of debts.

               (d)     INTERSTATE COMMERCE

               Abusive debt collection practices are carried on to a substantial extent
               in interstate commerce and through means and instrumentalities of
               such commerce. Even where abusive debt collection practices are
               purely intrastate in character, they nevertheless directly affect
               interstate commerce.

               (e)     PURPOSES

               It is the purpose of this subchapter to eliminate abusive debt
               collection practices by debt collectors, to insure that those debt
               collectors who refrain from using abusive debt collection practices are
               not competitively disadvantaged, and to promote consistent State
               action to protect consumers against debt collection abuses.

       Here, the bully demanding contempt in the EDVA case has steadfastly refused to make


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use of the debt collection methods provided by the Federal Rules of Civil Procedure, the U.S.

Congress, and the forum Virginia General Assembly. Electing not to collect the debt in the

ordinary way, the abusive, domestic terrorist creditor has sought instead to pervert the law to

scare and intimidate hundreds of thousands or millions of private debtors suffering under the

COVID-19 recession. To protect the public against such abuses, this must be stopped once and

for all. Therefore, although badly over-worked, counsel Moseley welcomes the appeal to stop

these abuses for the benefit of society as a whole.

       But, here, the Government appears to be trying to deprive the Defendants of legal counsel

with collateral attacks on attorneys for January 6 Defendants and other investigations.

       Zachary Rehl for example has had to depend upon raising funds from supporters to be

able to afford a legal defense, which will be ramping up to prepare for trial including arranging a

second chair and possibly a third chair.

       https://www.ourfreedomfunding.com/campaign/61/zach-rehl-defense-fund

       Without the ability to accept donations, most January 6 Defendants would have no

defense attorney to protect their interests.

       Fortunately, U.S. citizens are made of sterner stuff.

       On appeal to the Fourth Circuit, the matters in the Eastern District of Virginia have been

stayed by the District Court and an adjustment to the stay to reduce the $15,000 supersedeas

bond and clarify all other conditions.

       Counsel had filed suit and welcomes the opportunity on appeal to protect the rights and

freedoms of millions of debtors after the COVID-19 recession from abusive practices,

       The U.S. Attorney’s Office needs to refocus its to do list and concern itself with (a)

investigating the pipe bombs found on January 6, 2021, which are the actual cause of the Joint




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Session of Congress recessing at 2:18 PM on January 6, 2021, proving that these Defendants are

innocent of C
            Coounts
               unts I and II, (b) identifying and prosecuting the roughly 50 people out of as many

as 500,000 to 1 million who assaulted police2 and (c) actually reading the material provided to

defense attorneys and recognizing that they are misrepresenting the facts in these cases. Those
                                                                                          Those

tasks – as the British say – are more than enough to “be
                                                     “be getting on with
                                                                    with”” and keep the

prosecutors busy.

Dated: December 7, 2021                RESPECTFULLY SUBMITTED
                                                    SUBMITTED,
                                       ZACHARY REHL, by counsel




                                       Jonathon Alden Moseley, Esq.
                                       DC
                                       DCDC
                                          DC Bar No. VA005
                                       Virginia State Bar No. 41058
                                       5765
                                       5765--F
                                             F Burke Centre Parkway, PMB #337
                                       Burke, Virginia 22015
                                       Telephone: (703) 656
                                                          656--1230
                                                               1230
                                       Contact@JonMoseley.com
                                       Moseley391@gmail.com

                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 7, 2021
                                              2021,, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the follow
              following
                     ing CM/ECF participant(s), and also mailed a copy to the following by first
class U.S. mail, postage prepaid, one single copy to the prosecution for distribution internally to

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        The Government states that 165 people have been charged with assaulting, hindering, or
impeding law enforcement during otherwise peaceful protests that occurred on January 6, 2021  2021.
This is ill-
        ill-defined
             defined but probably no more than 100 people assaulted or brawled with police,
compared to those who merely “hindered
compared                          “hindered
                                   hindered”” or “impeded
                                                 “impeded
                                                  impeded”” whatever those ill
                                                                           ill-defined
                                                                               defined terms mean.
The G
    Goovernment
       overnment states that about 50 of those possessed deadly or dangerous weapons,
consisting almost exclusively of the construction materials and tools that were left out by the
crews assem
       assembling
               bling the inauguration platform ahead of January 20. For example, the oddly
                                                                                       oddly--
dressed Jacob Chansley was giving an advance setting based on his costume / ceremonial “spear“spear
                                                                                               spear””
being a deadly weapon, rather than just part of his odd costume.


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all counsel involved for the proseuction. From my review of the PACER / ECF docket records
for this case that the following attorneys will receive notice through the ECF system of the U.S.
District Court for the District of Columbia.

                  Mr. Luke Matthew Jones, Esq.
                  U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
                  555 Fourth Street, N.W.
                  Washington, DC 20530
                  (202) 252-7066
                  (202) 616-8470 (fax)
                  ahmed.baset@usdoj.gov

                  Mr. Jason Bradley Adam McCullough, Esq.
                  U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
                  555 4th Street, NW
                  Washington, DC 20001
                  (202) 252-7233
                  jason.mccullough2@usdoj.gov

                  Mr. James B. Nelson, Esq.
                  U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
                  555 Fourth Street NW, Room 4112
                  Washington, DC 20530
                  (202) 252-6986
                  james.nelson@usdoj.gov




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